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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA



 UNITED STATES OF AMERICA                                Case No. 1:19-cr-00126-JMS-TAB-01

                                                         ORDER       ON     MOTION FOR
 v.                                                      SENTENCE REDUCTION UNDER
                                                         18 U.S.C. § 3582(c)(1)(A)
 EMERY BROWN                                             (COMPASSIONATE RELEASE)




       Upon motion of ☒ the defendant ☐ the Director of the Bureau of Prisons for a reduction

in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors provided

in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing Commission,


IT IS ORDERED that the motion is:


☒ DENIED.


☐ DENIED WITHOUT PREJUDICE.


☐ OTHER:


☒ FACTORS CONSIDERED: See attached opinion.
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )
                              Plaintiff,             )
                                                     )
                         v.                          )       No. 1:19-cr-00126-JMS-TAB
                                                     )
EMERY BROWN,                                         ) -01
                                                     )
                              Defendant.             )


                                            ORDER

       Defendant Emery Brown has filed a motion seeking compassionate release under § 603 of

the First Step Act of 2018, which is codified at 18 U.S.C. § 3582(c)(1)(A). Dkts. 48, 52, 53. Mr.

Brown seeks immediate release from incarceration. Id. For the reasons explained below, his

motion is DENIED.

I. Background

       In January 2020, Mr. Brown pled guilty to: (1) one count of possession with intent to

distribute 100 grams or more of a mixture containing heroin, in violation of 21 U.S.C. § 841(a)(1);

and (2) one count of possession with intent to distribute 50 grams or more of a methamphetamine

mixture, in violation of 21 U.S.C. § 841(a)(1). Dkts. 44, 45. The Court sentenced Mr. Brown to 66

months of imprisonment and imposed 54 months of supervised release. Dkt. 45. Mr. Brown is 40

years old. He is currently incarcerated at the Federal Medical Center (“FMC”) in Lexington,

Kentucky. As of January 7, 2021, the Bureau of Prisons ("BOP") reports that 424 inmates and 10

staff members at FMC Lexington have active cases of COVID-19; it also reports that 284 inmates

at FMC Lexington have recovered from COVID-19 and that 9 inmates at FMC Lexington have

died from the virus. https://www.bop.gov/coronavirus/ (last visited Jan. 7, 2021). Mr. Brown

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represents that he has been in custody since March 2019. Dkt. 52 at 2. The BOP gives his projected

release date with good credit time as November 24, 2023. Id. Mr. Brown initially filed a pro se

motion for compassionate release, dkt. 48, and the Court appointed counsel to represent him, dkt.

49. Appointed counsel filed a supporting memorandum and additional documents, dkts. 52, 53,

55, the United States responded, dkt. 59, and Mr. Brown replied, dkt. 60. Thus, the motion is now

ripe for decision.

II. Discussion

        Mr. Brown seeks immediate release based on "extraordinary and compelling reasons" as

set forth in 18 U.S.C. § 3582(c)(1)(A)(i). Dkt. 52. Mr. Brown tested positive for COVID-19 on

December 10, 2020. Dkt. 55-1 at 1. In a notification to the Court regarding his status, counsel for

Mr. Brown states that he is "experiencing symptoms," but provides no further information about

the type, severity or duration of said symptoms. Id. Instead, he contends that extraordinary and

compelling reasons warrant Mr. Brown's immediate release because his medical diagnoses of

hypertension and obesity increase his risk of experiencing severe symptoms. Dkt. 60 at 1. 1 In

response, the United States argues that Mr. Brown has not presented an extraordinary and

compelling reason warranting a sentence reduction; he would pose a danger to the safety of the

community if released; and the sentencing factors in 18 U.S.C. § 3553(a) do not favor release. Dkt.

59.

        The general rule is that sentences imposed in federal criminal cases are final and may not

be modified. 18 U.S.C. § 3582(c). Under one exception to this rule, a court may reduce a sentence


        1
         The Court notes that even though his COVID-positive test result is dated December 10, 2020, it
would appear that Mr. Brown and/or his counsel were not informed of said result until later, as counsel’s
December 14th Memorandum focuses only on the dangers Mr. Brown faces if he were to become infected.
See dkt. 52. It was not until counsel’s December 16th supplemental notice and reply where Mr. Brown
acknowledged and addressed his COVID diagnosis and related arguments. Dkts. 55, 60.


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upon finding there are "extraordinary and compelling reasons" that warrant a reduction. 18 U.S.C.

§ 3582(c)(1)(A)(i). Before the First Step Act, only the Director of the Bureau of Prisons

("BOP") could file a motion for a reduction based on "extraordinary and compelling reasons."

Now, a defendant is also permitted to file such a motion after exhausting administrative

remedies. See First Step Act of 2018, Pub. L.N. 115-391, 132 Stat. 5194, 5239 (2018). The

amended version of the statute states:

        [T]he court, upon motion of the Director of the Bureau of Prisons, or upon motion
        of the defendant after the defendant has fully exhausted all administrative rights to
        appeal a failure of the Bureau of Prisons to bring a motion on the defendant's behalf
        or the lapse of 30 days from the receipt of such a request by the warden of the
        defendant's facility, whichever is earlier,[2] may reduce the term of imprisonment
        (and may impose a term of probation or supervised release with or without
        conditions that does not exceed the unserved portion of the original term of
        imprisonment), after considering the factors set forth in section 3553(a) to the
        extent that they are applicable, if it finds that—

                (i) extraordinary and compelling reasons warrant such a reduction;
                or

                (ii) the defendant is at least 70 years of age, has served at least 30
                years in prison, pursuant to a sentence imposed under section
                3559(c), for the offense or offenses for which the defendant is
                currently imprisoned, and a determination has been made by the
                Director of the Bureau of Prisons that the defendant is not a danger
                to the safety of any other person or the community, as provided
                under section 3142(g);

        and that such a reduction is consistent with applicable policy statements issued by
        the Sentencing Commission . . . .

18 U.S.C. § 3582(c)(1)(A).



        2
         This Court has held that the administrative exhaustion requirement is not jurisdictional and, thus,
that the United States can waive it. See United States v. Cox, No. 4:18-cr-17-TWP-VTW-1, 2020 WL
1923220, at *3 (S.D. Ind. Apr. 21, 2020); United States v. Jackson, No. 2:15-cr-00013-JMS-CMM-1, Dkt.
137 (S.D. Ind. Apr. 28, 2020). The United States does not argue that Mr. Brown failed to exhaust his
administrative remedies. See generally dkt. 59. Thus, even if Mr. Brown has not exhausted his
administrative remedies as required by § 3582(c)(1)(A), the Court concludes that the United States has
waived the exhaustion requirement.

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       Congress directed the Sentencing Commission to "describe what should be considered

extraordinary and compelling reasons for sentence reduction, including the criteria to be applied

and a list of specific examples." 28 U.S.C. § 994(t). It directed that "[r]ehabilitation of the

defendant alone shall not be considered an extraordinary and compelling reason." Id. Before

passage of the First Step Act, the Sentencing Commission promulgated a policy statement

regarding compassionate release under § 3582(c). U.S.S.G. § 1B1.13.

       Section 1B1.13 sets forth the following considerations. First, whether "[e]xtraordinary and

compelling reasons warrant the reduction" and whether the reduction is otherwise "consistent with

this policy statement." U.S.S.G. § 1B1.13(1)(A), (3). Second, whether the defendant is "a danger

to the safety of any other person or to the community, as provided in 18 U.S.C. § 3142(g)."

U.S.S.G. § 1B1.13(2). Finally, consideration of the sentencing factors in 18 U.S.C. § 3553(a), "to

the extent they are applicable." U.S.S.G. § 1B1.13.

       As to the first consideration, Subsections (A)-(C) of Application Note 1 to § 1B1.13

identify three specific "reasons" that qualify as "extraordinary and compelling": (A) terminal

illness diagnoses or serious conditions from which a defendant is unlikely to recover and which

"substantially diminish[]" the defendant's capacity for self-care in prison; (B) aging-related health

decline where a defendant is over 65 years old and has served at least ten years or 75% of his

sentence, whichever is less; or (C) certain family circumstances (the death or incapacitation of the

caregiver of the defendant's minor child or the incapacitation of the defendant's spouse or

registered partner when the defendant would be the only available caregiver for the spouse or

registered partner). U.S.S.G. § 1B1.13, Application Note 1(A)–(C). Subsection (D) adds a catchall

provision for "extraordinary and compelling reason[s] other than, or in combination with, the




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reasons described in subdivisions (A) through (C)," "[a]s determined by the Director of the Bureau

of Prisons." Id., Application Note 1(D).

        The policy statement in § 1B1.13 addresses only motions from the Director of the

BOP. Id. ("Upon the motion of Director of the Bureau of Prisons under 18 U.S.C. § 3582(c)(1)(A),

the court may reduce a term of imprisonment . . . "). It has not been updated since the First Step

Act amended § 3582(c)(1)(A) to address motions that are filed by prisoners. As a result, the

Sentencing Commission has not yet issued a policy statement "applicable" to motions filed by

prisoners. United States v. Gunn, 980 F.3d 1178, 1180–81 (7th Cir. 2020). And, in the absence of

an applicable policy statement, the portion of § 3582(c)(1)(A) requiring that a reduction be

"consistent with the applicable policy statements issued by the Sentencing Commission" does not

curtail a district court judge's discretion. Id. at 1180. Nonetheless, the Commission's analysis in

§ 1B1.13 can guide a court's discretion without being conclusive. Id. As to motions brought under

the "catchall" provision in Subsection (D), district judges should give the Director of the BOP's

analysis substantial weight (if he has provided such an analysis), even though those views are not

controlling. Id.

        Accordingly, the Court evaluates motions brought under the "extraordinary and

compelling" reasons prong of § 3582(c)(1)(A) with due regard for the guidance provided in

§ 1B1.13 by deciding: (1) whether a defendant has presented an extraordinary and compelling

reason warranting a sentence reduction; (2) whether the defendant presents a danger to the safety

of any other person or to the community, as provided in 18 U.S.C. § 3142(g); and (3) whether the

applicable sentencing factors in § 3553(a) favor granting the motion.

        Mr. Brown does not suggest that Subsections (A)-(C) of Application Note 1 to § 1B1.13

provide him with an extraordinary and compelling reason warranting release. See dkt. 52 at 9-19.



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Instead, he asks the Court to exercise its broad discretion to find an extraordinary and compelling

reason warranting release in this case. Id. The Court declines to do so. 3

        The risk that Mr. Brown faces from the COVID-19 pandemic is not an extraordinary and

compelling reason to release him. Mr. Brown claims to have medical conditions (including obesity

and hypertension) that put him at an increased risk of experiencing severe symptoms if he contracts

COVID-19. 4 See https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-

with-medical-conditions.html (last visited Jan. 7, 2021). But Mr. Brown contracted COVID-19

about one month ago. While he stated that he was "experiencing symptoms," he provides no further

description of his condition. As has been well-documented, the symptoms individuals can

experience from this disease vary substantially. Without any other information, the Court can only

surmise that Mr. Brown is not suffering severe symptoms or side effects from the virus.

Accordingly, he has not shown extraordinary and compelling reasons warranting a sentence

reduction. See, e.g., United States v. Weatherspoon, No. 2:11-cr-9-JMS-CMM-07, dkt. 894 (S.D.

Ind. July 7, 2020) (finding no extraordinary and compelling reason where defendant had conditions

putting him at risk for severe COVID-19 symptoms and had been hospitalized after testing positive

for COVID-19, but had since recovered); United States v. Wyatt, No. 3:17-cr-11-RLY-MPB-02,

dkt. 165 (S.D. Ind. Sept. 3, 2020) (finding no extraordinary and compelling reason where

defendant had conditions putting him at risk for severe COVID-19 symptoms and had tested



        3
            In keeping with the Seventh Circuit's instruction in Gunn, 980 F.3d at 1180-81, the Court has
considered the rationale provided by Mr. Brown's warden in denying Mr. Brown's administrative request
for relief. The warden denied Mr. Brown's administrative request for relief before Mr. Brown tested positive
for COVID-19. See dkt. 52-5 at 1. Thus, the warden's decision provides little guidance to the Court's
analysis.
         4
           The Court notes that while obesity is on the CDC's list of those conditions which increase the risk
of severe illness from COVID, hypertension is a condition which only "might" increase the risk of severe
illness. See https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-
conditions.html (last visited Jan. 7, 2021).

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positive for COVID-19 but remained asymptomatic); United States v. VanBuren, No. 2:13-cr-16-

JMS-CMM-01, dkt. 701 (S.D. Ind. Nov. 25, 2020) (finding no extraordinary and compelling

reason where defendant had conditions putting him at risk for severe COVID-19 and had tested

positive but only had a non-severe cough and a short-lived fever).

       To the extent Mr. Brown's reply can be read to suggest that the possibility of reinfection

constitutes an extraordinary and compelling reason warranting release, the result does not change.

The Court recognizes that FMC Lexington is currently experiencing a large outbreak of COVID-

19. But any reliance on the possibility that Mr. Brown will be reinfected and suffer severe

symptoms      is    speculative. See     https://www.cdc.gov/coronavirus/2019-ncov/if-you-are-

sick/quarantine.html (last visited Jan. 8, 2021) ("Cases of reinfection of COVID-19 have been

reported but are rare."). To date, this Court has declined to find extraordinary and compelling

circumstances warranting a sentence reduction when a defendant has experienced a mild case of

COVID-19 or recovered from COVID-19—even when that defendant has risk factors for severe

symptoms. See, e.g., Wyatt, No. 3:17-cr-11-RLY-MPB-02, dkt. 165 (S.D. Ind. Sept. 3, 2020);

United States v. Gevirtz, No. 1:17-cr-68-RLY-MJD-01, dkt. 68 (S.D. Ind. Sept. 14, 2020); United

States v. Young, No. 1:10-cr-3-SEB-DML-17, dkt. 1540 (S.D. Ind. July 27, 2020); United States

v. Swain, No. 2:15-cr-19-JMS-CMM-06, dkt. 781 (S.D. Ind. June 3, 2020).

       Given the Court's determination that Mr. Brown has not shown extraordinary and

compelling reasons to justify his release, whether Mr. Brown is a danger to the community and

whether the § 3553(a) factors weigh in favor of his release need not be discussed at length.

Nonetheless, the Court concludes that the § 3553(a) factors also weigh against his release. Mr.

Brown pled guilty to possession with intent to distribute significant quantities of

methamphetamine and heroin. Dkt. 37 at 4. During a search of his residence, law enforcement



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officers found 214 grams of heroin, 89 grams of methamphetamines and a gun, which Mr. Brown

later admitted were his. Dkt. 43. His crimes were serious and warranted a serious sentence. Mr.

Brown's criminal history includes other drug-related offenses, including one for which he was on

probation when he committed the violations in this matter. Dkt. 37 at 8-10. Moreover, Mr. Brown

has served only approximately forty percent of his sentence. The Court sentenced Mr. Brown less

than a year ago and determined that a 66-month sentence was appropriate. Since that time, the only

thing that has changed substantially is that Mr. Brown contracted COVID-19, apparently without

experiencing severe symptoms. As a result, the Court cannot find that any risk Mr. Brown faces

from COVID-19 warrants releasing him from incarceration at this time. See United States v.

Ebbers, No. S402-CR-11443VEC, 2020 WL 91399, at *7 (S.D.N.Y. Jan. 8, 2020) (in evaluating

a motion for compassionate release, the court should consider whether the § 3553(a) factors

outweigh the "extraordinary and compelling reasons" warranting compassionate release, and

whether compassionate release would undermine the goals of the original sentence).

III.   Conclusion

       For the reasons stated above, Mr. Brown's motion for compassionate release, dkt. [48], is

denied.

       IT IS SO ORDERED.




          Date: 1/11/2021




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